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[N THE UNITED STATES DISTRICT COURT

 

 

 

FOR THE WESTERN DISTRICT OF TENNESSEE 95 "l
EASTERN DIVISION 411 _ 7

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WD' at T`FST. CT

UNITED STATES OF AMERICA

v.

LINDON L. OLIVER 05cr20207-Ma

ORDER ON ARRAIGNMENT
This cause came to be heard on§@ g f 2c §§ the United States Attorney
for this district appeared on behalf of the g vernment, and the defendant appeared in person and With
counsel:

NAME g Z ¢ 42 /QQ%/Qé¢ j?: Who is Retained/Appointed.
____._...__.._»

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a Di strict Judge, such period is extended

The defendant, who is not in custod , rnay stand on his present bond.

l/Ihe defendant, (not having rn bond) (being a skaé prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal. M
UNITED STATES MAGISTRATE ]UDGE

CHARGES - 18:2113
BANK ROBBERY BY FORCE OR VIOLENCE

Attorney assigned to Case: T. Arvin

Age: j?

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Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:05-CR-20207 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

Tony R. Arvin

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Honorable Sarnuel Mays
US DISTRICT COURT

